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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

Ubiquiti Networks, Inc.
                                       Plaintiff,
v.                                                        Case No.: 1:18−cv−05369
                                                          Honorable Gary Feinerman
Cambium Networks, Inc., et al.
                                       Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, December 11, 2018:


       MINUTE entry before the Honorable Gary Feinerman:Status hearing held and
continued to 1/28/2019 at 9:15 a.m. The parties report on the status of discovery. Oral
argument held on pending motion to dismiss [37]. The motion is taken under advisement
and the Court will issue ruling by mail.Mailed notice.(jlj, )




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